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                                   IN THE UNITED STATES BANUPTCY COURT

                                              FOR THE DISTRICT OF DELAWAR

 In re:                                                          )       Chapter 11
                                                                 )
W. R. GRACE & CO., et al.,1                                      )       Case No. 01-1139 (JKF)
                                                                 )       Jointly Administered
                                    Debtors.                     )
                                                                 )

                                                         AFFIDAVIT OF SERVICE

STATE OF DELAWAR )
                                                           )SS
COUNTY OF NEW CASTLE )


                        Patrcia E. Cuniff, being duly sworn according to law, deposes and says that she is

employed by the law firm of                   Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors, in

the above-captioned action, and that on the 3rd day of                   May, 2010, she caused a copy ofthe

following document(s) to be served upon the attached service list(s) in the maner indicated:




1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (fla Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fla
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fla Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (fla Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (fla Grace Cocoa
Management, Inc.), GEe Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (fla GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (fla Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fla Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (fla British Nursing Association,
Inc.), Remedium Group, Inc. (fla Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (fla Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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                     CERTIFICATE OF COUNSEL RE ORDER DISALLOWING AND
                     EXPUNGING ASBESTOS PROPERTY DAMAGE CLAIM NUMBERS
                     011627 AND 012476 AS BARD BY BRITISH COLUMBIA'S
                     ULTIMATE LIMITATIONS PERIOD; AND

                     (PROPOSED) ORDER DISALLOWING AND EXPUNGING ASBESTOS
                     PROPERTY DAMGE CLAIM NUMBERS 011627 AND 012476 AS
                     PERIOD ~~b c¿.i
                     BARD BY BRITISH COLUMBIA'S ULTIMATE LIMITATIONS


                                                     Patrcia E. Cunff ~
Sworn to and subscribed before
me this rd ., of May, 2010
                                                     MARY E. CORCORAN
                                                       NOTARY PUBLIC
                                                     STATE OF DELAWARE
                                 11(4/11       My Commission Expires Nov. 4,2011




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